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                           EXHIBIT 33
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                                                                                                   USOO8871779B2


(12) United States Patent                                                        (10) Patent No.:                 US 8,871,779 B2
       Buehler et al.                                                            (45) Date of Patent:                        Oct. 28, 2014
(54) PROCESS FOR PREPARING                                                         5,922,876 A       7/1999 Huang
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(75) Inventors: Henry J. Buehler, St. Louis, MO (US);                                                   (Continued)
                        William E. Dummitt, St. Louis, MO                                FOREIGN PATENT DOCUMENTS
                        (US); Anthony Mannino, Maryland
                        Heights, MO (US); Dennis C.                         EP                O 604 150          6, 1994
                        Aubuchon, Arnold, MO (US); Hong Gu,                 FR                 1000543           2, 1952
                        Oak Park, CA (US)                                                               (Continued)
(73) Assignee: Mallinckrodt LLC, Hazelwood, MO                                                 OTHER PUBLICATIONS
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                        patent is extended or adjusted under 35             1955, pp. 5891-5892.
                        U.S.C. 154(b) by 996 days.
(21) Appl. No.:              11/915,606
                                                                                                        (Continued)

(22) PCT Filed:              Mar. 2, 2007                                   Primary Examiner — Charanjit Aulakh
(86). PCT No.:               PCT/US2007/005256                              (74) Attorney, Agent, or Firm — Buchanan Ingersoll &
                                                                            Rooney PC
        S371 (c)(1),
        (2), (4) Date:       Nov. 27, 2007
                                                                            (57)                       ABSTRACT
(87) PCT Pub. No.: WO2007/103105
                                                                            The present invention generally relates to processes for pre
     PCT Pub. Date: Sep. 13, 2007                                           paring highly pure morphinan-6-one products. The processes
(65)                Prior Publication Data                                  involve reducing the concentration of C.B-unsaturated ketone
                                                                            compounds present as impurities in morphinan 6 one prod
        US 2008/0312442 A1     Dec. 18, 2008                                ucts or reaction mixtures including morphinan 6 one com
                                                                            pounds by treatment with a Sulfur-containing compound. (A)
            Related U.S. Application Data
(60) Provisional application No. 60/778,258, filed on Mar.                                                                                       (A)
        2, 2006.
(51) Int. Cl.
        A6 IK3I/485                   (2006.01)
        CO7D 489/04                   (2006.01)
        CO7D 489/08                   (2006.01)
(52) U.S. Cl.                                                                                                                           sulfur
        CPC .................................... C07D489/08 (2013.01)                                                                  containing
        USPC ............................................. 514/282:546/45                                                              compound
(58) Field of Classification Search                                                     (2)
        USPC ....................................... 546/45, 44; 514/282
        See application file for complete search history.
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                                                     US 8,871,779 B2
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                                                                       Synthesis, chapter 15, (Wiley 1977); French Patent No.
           CROSS REFERENCE TO RELATED                                  1,000,543 to Penau et al.; British Patent No. 713,689 to Wood
                  APPLICATIONS                                         et al.; and U.S. Pat. No. 2,009,181 to Kábay.
                                                                          Synthetic methods for producing various morphinan com
  This application is a national stage application of PCT/        10
                                                                       pounds are also known. These methods commonly utilize
US2007/005256, filed Mar. 2, 2007, which claims the benefit            3-methoxy-phenylethylamine as a starting material and
of U.S. Provisional Application No. 60/778.258 filed Mar. 2,           include a Grewe cyclization step. For example, in U.S. Pat.
2006.                                                                  No. 4.368,326, Rice discloses a process for preparing a nor
                                                                       dihydrothebainone (e.g., 1-bromo-N-formylnordihydrothe
               FIELD OF THE INVENTION                                  bainone) from a B.Y-hexahydroisoquinolone (e.g., 1-(2-
                                                                  15
                                                                       bromo-4'-methoxy-5'-hydroxybenzyl)-2formyl-1,3,4,5,7,8-
  The present invention generally relates to processes for             hexahydroquinolin-6-one) by Grewe cyclization catalyzed
preparing morphinan-6-one products. The processes involve              using a Super acid catalyst alone or with a combination of an
reducing the concentration of C.B-unsaturated ketone com               ammonium fluoride complex and trifluoromethanesulfonic
pounds from reaction mixtures including morphinan-6-one                acid.
compounds.
                                                                         Many pharmaceutically desirable morphinan compounds
          BACKGROUND OF THE INVENTION                                  and analogs thereof have a ketone group on the C-ring of
                                                                       Formula (1) and a saturated bond between the two carbon
   The morphinan alkaloids represent a family of structurally          atoms positioned C. and B to the ketone on the C-ring of
related products of great medicinal importance. Particular        25   Formula (1). According to the common nomenclature, the
morphinan compounds of pharmaceutical relevance include,               ketone is present on the C(6) carbon atom, with the C. and B
for example, codeine, hydrocodone, hydromorphone, mor                  carbon atoms being the C(7) and C(8) positions (see, e.g.,
phine, nalbuphine, nalmefene, naloxone, naltrexone, oxyc               Formula (1)). Thus, these compounds may be referred to as
odone, and oxymorphone. Generally, these compounds are                 morphinan-6-one compounds. Various processes for produc
analgesics, which are used extensively for pain relief in the     30   ing morphinan-6-one compounds are known, many of which
field of medicine due to their action as opiate receptor ago           involve some form of catalytic hydrogenation of C.B-unsat
nists. However, nalmefene, naloxone, naltrexone, and naltr             urated ketone intermediate compounds at particular points in
exone methyl bromide are opiate receptor antagonists, and              the process. Commonly used catalysts include, for example,
are used for reversal of narcotic/respiratory depression due to        palladium and platinum. For example, in U.S. Pat. No. 6,177.
opiate receptoragonists, as addiction therapies, and to reverse   35   567 to Chiu et al., 14-hydroxycodeinone (an C.B-unsaturated
other undesirable side effects of opiate agonist use. Such as          ketone compound) is converted to oxycodone by hydrogenat
severe constipation.                                                   ing the C. B-unsaturation using conventional methods such as
   Morphinan compounds and analogs thereof typically have              reduction by diphenylsilane and Pd(PhP)/ZnCl, or with
a ring structure generally corresponding to Formula (1):               Sodium hypophosphite in conjunction with a Pd/C catalyst in
                                                                  40   aqueous acetic acid, or by Pd/C catalytic transfer hydrogena
                                                                       tion.
                                                            (1)           While these and other methods of reducing or removing the
                                                                       C.f3-unsaturation are generally effective, C.B-unsaturated
                                                                       ketone compounds may persistas impurities in the final prod
                                                                  45   ucts of desirably C. B-saturated morphinan-6-one products,
                                                                       Such as oxycodone. Additionally, known hydrogenation
                                                                       methods may tend to undesirably reduce the ketone as well as
                                                                       reducing or removing the C.f3-unsaturation. Further, these
                                                                       and other hydrogenation methods are not normally capable of
                                                                  50   efficiently and economically reducing the levels of 7,8-unsat
                                                                       uration to below 10 to 100 parts per million, or less.
                                                                          Some C.B-unsaturated ketone compounds show mutagenic
                                                                       activity in certain tests. Therefore, a need persists for pro
   Various methods are known for the synthesis of morphinan            cesses for preparing highly pure morphinan-6-one products
compounds corresponding to Formula (1). Conventional              55   having a relatively low concentration of C.B-unsaturated
methods used in the commercial production of morphinan                 ketone compounds present as impurities therein.
compounds typically involve the extraction of opium alka
loids from poppies (papaver somniferum). Generally speak                           SUMMARY OF THE INVENTION
ing, these processes involve the extraction of the alkaloids
from opium in a liquid, precipitation of the alkaloids, sepa      60      Among the various aspects of the present invention is the
ration of the raw alkaloids (e.g., morphine and secondary              provision of a process for the preparation of morphinan-6-one
alkaloids Such as papaverine, codeine, and thebaine), and              products. The process involves reducing the concentration of
purification of the various alkaloids, optionally followed by          C.f3-unsaturated ketone compounds which are present as
semi-synthesis steps to produce particular morphinan com               impurities in reaction mixtures including morphinan-6-one
pounds. See, for example, Barbier, A., “The Extraction of         65   compounds. The process generally involves forming a reac
Opium, Twenty-five years of commercial experience in the               tion mixture including a morphinan-6-one compound and an
treatment of opium.” Ann. Pharm. Franc., 1947, 5, 121-40;              C.f3-unsaturated ketone compound and treating the reaction
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                                3                                                                     4
mixture with a sulfur-containing compound. In one embodi                  the morphinan-6-one compound comprises less than about
ment, the Sulfur-containing compound is a Sulfur-containing            0.1% (by weight) morphinan-6-one product of the C.B-unsat
inorganic acid or salt thereof.                                        urated ketone compound.
   Briefly, therefore, the present invention is directed to a             The present invention is also directed to a process for
process for the preparation of a morphinan-6-one product, the          preparing a morphinan-6-one product, the process compris
process comprising:                                                    ing:
  forming a reaction mixture comprising a morphinan-6-one                 forming a reaction mixture comprising an O.B-unsaturated
      compound and an O.f3-unsaturated ketone compound;                      ketone compound;
  treating the reaction mixture with a Sulfur-containing com      10
                                                                          treating the reaction mixture with a Sulfur-containing com
      pound to reduce the concentration of the C. B-unsatur                  pound to reduce the C.f3-unsaturated ketone compound
      ated ketone compound in the reaction mixture; and                      to form a morphinan-6-one compound; and
  recovering the morphinan-6-one compound to produce the                  recovering the morphinan-6-one compound to form the
      morphinan-6-one product;                                               morphinan-6-one product,
wherein                                                           15
                                                                       wherein
   the morphinan-6-one compound corresponds to Formula                    the morphinan-6-one compound corresponds to Formula
(2):                                                                   (2):

                                                            (2)                                                                    (2)




                                                                  25




                                                                  30


  the C. B-unsaturated ketone compound corresponds to For                the C.B-unsaturated ketone compound corresponds to For
mula (3):                                                              mula (3):
                                                                  35

                                                            (3)                                                                    (3)


                                                                  40




                                                                  45




   X is —N(R,)— or - N'-(R1,R)—:                                          X is —N(R,)— or - N'-(R1,R2)—:
   RandR are independently selected from hydrogen, Sub            50      RandR are independently selected from hydrogen, Sub
stituted and unsubstituted acyl, acyloxy, alkenyl, alkoxy,             stituted and unsubstituted acyl, acyloxy, alkenyl, alkoxy,
alkoxyaryl, alkyl, alkylamino, alkylthio, alkynyl, amino, aryl,        alkoxyaryl, alkyl, alkylamino, alkylthio, alkynyl, amino, aryl,
arylalkoxy, carboalkoxy, carbonyl, carboxyalkenyl, carboxy             arylalkoxy, carboalkoxy, carbonyl, carboxyalkenyl, carboxy
alkyl, carboxyl, cyano, cyanoalkyl, cycloalkyl, cycloalkyla            alkyl, carboxyl, cyano, cyanoalkyl, cycloalkyl, cycloalkyla
lkyl, cycloalkylether, halo, haloalkoxy, haloalkyl, heteroaryl,   55   lkyl, cycloalkylether, halo, haloalkoxy, haloalkyl, heteroaryl,
heterocyclic, hydroxyalkyl, hydroxyl, or nitro:                        heterocyclic, hydroxyalkyl, hydroxyl, or nitro:
   R is hydrogen, hydroxy, protected hydroxy, alkoxy, or                  R is hydrogen, hydroxy, protected hydroxy, alkoxy, or
acyloxy;                                                               acyloxy;
   Ro is hydrogen, hydroxy, protected hydroxy, halo, keto,                Ro is hydrogen, hydroxy, protected hydroxy, halo, keto,
tosyl, mesyl, or trifluoromesyl;                                  60   tosyl, mesyl, or trifluoromesyl;
   Ra is hydrogen, hydroxy, or protected hydroxy:                         Ra is hydrogen, hydroxy, or protected hydroxy:
   R7 is hydrogen, alkyl, cycloalkyl, alkylcarboxy, alkyle                R7 is hydrogen, alkyl, cycloalkyl, alkylcarboxy, alkyle
necycloalkyl, alkoxycarbonyl, allyl, alkenyl, acyl, aryl,              necycloalkyl, alkoxycarbonyl, allyl, alkenyl, acyl, aryl,
formyl, formyl ester, formamide, benzyl, or an amino pro               formyl, formyl ester, formamide, benzyl, or an amino pro
tecting group; and                                                65   tecting group; and
   R7 and R7, are independently selected from hydrogen,                   R7 and R7, are independently selected from hydrogen,
alkyl, alkenyl, allyl, cycloalkyl, aryl, or benzylyl, and              alkyl, alkenyl, allyl, cycloalkyl, aryl, or benzylyl.
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   Other objects and features will be in part apparent and in            When R, is hydrogen, alkyl, alkenyl, cycloalkyl, aryl, or
part pointed out hereinafter.                                          benzyl, salts of the secondary or tertiary amine can beformed
                                                                       wherein the anion is chloride, bromide, acetate, formate, Sul
    DETAILED DESCRIPTION OF THE INVENTION                              fate, bisulfate, bisulfite, oxalate, citrate, malate, tartrate, tri
                                                                       flate, trifluoroacetate, methane sulfonate, and the like. When
   The present invention is generally directed to processes for        X is —N(R7R17)—, the counter-ion can be chloride, bro
preparing highly pure morphinan-6-one products. The pro                mide, iodide, trifluoroacetate, trifluoromethanesulfonate,
cesses generally involve treating a reaction mixture including         methane Sulfonate, acetate, p-toluenesulfonate, Sulfate, bisul
a morphinan-6-one compound and an O.f3-unsaturated ketone              fate, bisulfite, phosphate, hydrogen phosphate, dihydrogen
compound with a Sulfur-containing compound. Advanta               10
                                                                       phosphate, fumarate, oxalate, formate, tartrate, benzoate, and
geously, the process effectively reduces the concentration of          the like.
undesirable C.f3-unsaturated ketone compounds to acceptable               In one preferred embodiment, R is hydroxy or protected
levels without removing or otherwise affecting other more              hydroxy. In another preferred embodiment, R is hydrogen.
desirable compounds or Substituent groups or unsaturation         15      In either of the embodiments described above (i.e., when
thereon. Moreover, the Sulfur-containing compound may be               Ra is hydroxy or protected hydroxy or R is hydrogen), R
utilized to reduce the concentration of C.B-unsaturated                is either alkoxy, hydroxy, or protected hydroxy. In one par
ketone compounds present in the reaction mixture from levels           ticular embodiment, R is methoxy.
of about 0.5% (by weight) or more to levels of not more than              In any one of the embodiments described above, X is
about 0.1% (by weight), or lower (e.g., about 0.01% (by                —N(R7)— or —N (R7R7)—, wherein R7, R7, and
weight), about 0.001% (by weight), or lower), with minimal             R, are defined as above. Where X is N(R) , in one
side reactions, ketone reduction, and/or any other undesirable         particularly preferred embodiment R, is hydrogen, alkyl,
effects.                                                               alkenyl, alkylcarboxy, or cycloalkyl. Where X is —N'
   Morphinan Products and Processes for Preparing the Same             (R,R)—, in one particularly preferred embodiment R.
   Generally speaking, the morphinan-6-one products of            25   and Rz, are independently hydrogen, alkyl, alkenyl, or
interest in the process of the present invention include mor           cycloalkyl.
phinan compounds having a keto group at the C(6) carbon                   Representative morphinan-6-one compounds correspond
atom on the C-ring and a saturated bond between the C(7)and            ing to Formula (2)(and the various preferred substituent
C(8) carbonatoms on the C-ring (i.e., morphinan-6-one com              group definitions described above) which can be treated
pounds). More specifically, the morphinan-6-one compounds         30
                                                                       according to the process described herein include, for
are opiate receptor agonists or antagonists generally corre            example, oxymorphone, naloxone, naltrexone, naltrexone
sponding to Formula (2):                                               methylbromide, nalbuphone, noroxymorphone, hydromor
                                                                       phone, hydrocodone, oxycodone, diethoxycarbonyl-noroxy
                                                                  35   morphone, salts thereof, and the like. Additionally, deriva
                                                            (2)        tives of the above morphinan-6-one compounds which can be
                                                                       treated according to the process described herein include, for
                                                                       example, N-demethylated-, 10-hydroxy-, 10-halo, and
                                                                       10-keto-morphinan-6-one derivatives, their protected ana
                                                                  40   logs, and the like.
                                                                          The method of producing the above-described morphinan
                                                                       6-one compounds for use in the present invention is not nar
                                                                       rowly critical, and various methods for producing morphi
                                                                       nan-6-one compounds are well known in the art. For example,
                                                                  45   commercial processing methods for producing morphinan
                                                                       compounds typically involve the extraction of an opium alka
wherein
                                                                       loid (e.g., thebaine) from poppies, followed by various con
                                                                       ventional precipitation and purification steps known to those
   X is —N(R,)— or —N*(R,R)—:                                          of skill in the art. By way of further example, the morphinan
   RandR are independently selected from hydrogen, Sub            50   6-one compound oxycodone may be produced from thebaine
stituted and unsubstituted acyl, acyloxy, alkenyl, alkoxy,             in a substantially two-step process, as illustrated in Reaction
alkoxyaryl, alkyl, alkylamino, alkylthio, alkynyl, amino, aryl,        Scheme 1:
arylalkoxy, carboalkoxy, carbonyl, carboxyalkenyl, carboxy
alkyl, carboxyl, cyano, cyanoalkyl, cycloalkyl, cycloalkyla
lkyl, cycloalkylether, halo, haloalkoxy, haloalkyl, heteroaryl,   55
heterocyclic, hydroxyalkyl, hydroxyl, or nitro:
   R is hydrogen, hydroxy, protected hydroxy, alkoxy, or
acyloxy;
   Ro is hydrogen, hydroxy, protected hydroxy, halo, keto,
tosyl, mesyl, or trifluoromesyl;                                                                      He
                                                                                                      oxidation
   Ra is hydrogen, hydroxy, or protected hydroxy:
   R7 is hydrogen, alkyl, cycroalkyl, alkylcarboxy, alkyle
necycloalkyl, alkoxycarbonyl, allyl, alkenyl, acyl, aryl,
formyl, formyl ester, formamide, benzyl, or an amino pro
tecting group; and
   R7 and R7, are independently selected from hydrogen,                            Thebaine
alkyl, alkenyl, allyl, cycloalkyl, aryl, or benzyl.
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                               7                                                                         8
                          -continued                                         Reaction Conditions
                                  H3CO                                        As noted above, the morphinan products produced from
                                                                           conventional processes for preparing morphinan-6-one com
                                                                           pounds also yield some amount of an O.B-unsaturated ketone
                                                                           present as an impurity; that is, both the morphinan-6-one
                                                                           compound corresponding to Formula (2) and the C.B-unsat
                                                                           urated ketone compound corresponding to Formula (3) are
                                                                           present in the morphinan product.
                                                                              The morphinan products produced from conventional mor
                                                                      10
                                                                           phinan processing methods typically comprise less than
                                                                           about 2% by weight of an O.f3-unsaturated ketone compound.
                                       14-hydroxycodeinone                 Preferably, the morphinan products comprise less than about
                                                                           1% by weight of an O.B-unsaturated ketone compound. More
                                                                           preferably, the morphinan products comprise less than about
                                                   catalytic
                                                hydrogenation
                                                                           0.8% by weight of an O.B-unsaturated ketone compound. Still
                                                                      15   more preferably, the morphinan products comprise less than
                                                                           about 0.5% by weight of an O.B-unsaturated ketone com
                                                                           pound. As noted above, however, it is desirable to minimize or
                                                                           further minimize the concentration of C.f3-unsaturated ketone
                                                                           compounds present in Such products.
                                                                              According to the present invention, a reaction mixture is
                                                                           formed including a morphinan-6-one compound of Formula
                                                                           (2) and an O.f3-unsaturated ketone compound of Formula (3).
                                                                           The morphinan-6-one compound and the C.B-unsaturated
                                                                           ketone compound may be produced by any conventional
                                                                           method (such as those described above), and the morphinan
                                             oxycodone                     6-one compound may exist as the free base or as a salt, such
                                                                           as the hydrochloride salt. The reaction mixture is treated with
                                                                           a Sulfur-containing compound to reduce the concentration of
    Alternatively, various synthetic methods for producing the             the C. B-unsaturated ketone compound (either by forming
 above-described morphinan-6-one compounds are also                        additional morphinan-6-one compound or by facilitating the
 known. In these synthetic methods, a Grewe cyclization reac          30   removal of the C.f3-unsaturated ketone compound), and the
 tion is commonly used to form nordihydrothebainone prod                   morphinan-6-one compound is recovered to produce the
                                                                           desired morphinan-6-one product. This process is generically
 ucts such as by the processes described in U.S. Pat. Nos.                 illustrated in Reaction Scheme 2, wherein the reaction mix
 4,368,326, 4,410,700, 4,521,601, 4,556,712, 4,613,668,                    ture including the morphinan-6-one compound and the C. B
 4,727,146, the entire disclosures of which are hereby incor          35   unsaturated ketone compound is shown in brackets, and X,
 porated by reference herein. Additionally, various methods                R. R. R. Rio, and Ra are defined as above.
 useful for the semi-synthesis of morphinan compounds and
 intermediates are known. For example, U.S. Pat. No. 6, 177,
 567 to Chiu et al. and U.S. Pat. No. 6,008.355 to Huang et al.
 (each of which is hereby incorporated by reference herein)           40
 describe methods for the synthesis of oxycodone from
 codeine. These and other conventional practices are generally
 applicable in carrying out the preparation of morphinan-6-
 one compounds and C. B-unsaturated ketone compounds that
 may be treated according to the processes described herein.          45
    As noted above, in the various conventional processes for                                                                      sulfur
 producing morphinan-6-one compounds described above,                                                                             containing
 the resulting morphinan product typically also includes some                                                                     compound
 amount of an O.f3-unsaturated ketone compound present as an
 impurity in addition to the desired morphinan-6-one com                              (2)
                                                                      50
 pound. The C.B-unsaturated ketone compounds present as
 impurities generally correspond to Formula (3):

                                                                (3)
                                                                      55




                                                                      60
                                                                                                                            (2)
                                                                             Various reaction mixtures (bracketed) including a morphi
                                                                           nan-6-one compound and an O.B-unsaturated ketone com
                                                                      65   pound may be treated according to the processes described
                                                                           herein to yield various highly pure morphinan-6-one prod
 wherein X, R. R. R. Rio, and Ra are defined as above.                     ucts, as illustrated in Reaction Schemes 3-10.
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                                                       Her
                                                       Sulfur-containing
                                                          compound



        hydrocodone           codeinone                                       hydrocodone




                                                       He
                                                       Sulfur-containing
                                                          compound



       Oxymorphone        14-hydroxymorphinone                               oxymorphone




                                                       ---
                                                        Sulfur-containing
                                                           compound



      noroxymorphone    7,8-didehydronoroxymorphone                         noroxymorphone




                                                      --
                                                      Sulfur-containing
                                                         compound



      hydromorphone         morphinone                                      hydromorphone
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                                 11                                                                    12


                                                                                               HO



                                                                          He
                                                                          Sulfur-containing        O
                                                                              compound              2.1.



                                                                                                   O

              maltrexone                7,8-didehydronaltrexone                                              maltrexone




                                                                                              HO

                                                            Br                                                            Br

                                                                         ---
                                                                          Sulfur-containing    O2.
                                                                  --         compound               2.
                                                         OH
                                                                    1
                                                                                               O


     naltrexone methyl bromide            7,8-didehydronaltrexone                                  naltrexone methyl bromide
                                              methylbromide




                                                                                              HO



                                                                         Her
                                                                         Sulfur-containing    O%
                                                                             compound              2.
                                                      OH
                                                                1

               naloxone                  7,8-didehydronaloxone
                                                                  l                           O              naloxone




                                                                                              HO



                                                                        Her
                                                                        Sulfur-containing       Oz
                                                                           compound               %




            malbuphone                7,8-didehydronalbuphone                                               malbuphone
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    According to various embodiments, the reaction mixture is            able quaternary ammonium salts for use as phase transfer
 formed by dissolving or otherwise dispersing the morphinan              catalysts include tetraalkylammonium salts such as, for
 6-one compound and the C.B-unsaturated ketone compound                  example, tetramethyl-, tetraethyl-, tetrabutyl-, tetrahexyl-,
 in a media material (i.e., a morphinan product including the            tetraoctyl-, methyltriphenyl-, methyltrioctyl-, benzyltrim
 morphinan-6-one compound and the C.B-unsaturated ketone                 ethyl-, benzyltriethyl-, benzyltributyl-, hexadecyltrimethyl
 compound is dispersed in the media material). The reaction              ammonium salts, and the like. Suitable salts include, for
 mixture is then treated with a Sulfur-containing compound.              example, halide, hydroxide, bicarbonate, bisulfate, thiocyan
 Ideally, the morphinan-6-one compound and the C.B-unsat                 ate, tetrafluoroborate, and the like. Other phase transfer cata
 urated ketone compound are in Solution, but a heterogeneous             lysts such as phosphonium salts may be suitable as well.
 mixture may also be treated according to the processes             10      A variety of sulfur-containing compounds may be utilized
 described herein.                                                       to treat the reaction mixture and reduce the concentration of
    The media material is desirably an aqueous media or an               the C.f3-unsaturated ketone compound according to the pro
 aqueous/organic solvent biphasic media. Exemplary aqueous               cesses described herein. In various embodiments, the sulfur
 media for use in the process of the present invention includes,         containing compound is a Sulfur-containing nucleophile. As
 for example, water, waterfalcohol mixtures, dilute inorganic       15   utilized herein, “nucleophile' refers to an ion or molecule that
 Solvents such as dilute Sulfuric acid, ethereal solvents such as        donates a pair of electrons to an atomic nucleus to form a
 dioxane or tetrahydrofuran, combinations thereof, and the               covalent bond. In other embodiments, the Sulfur-containing
 like. Exemplary organic solvents for use in aqueous/organic             compound is a Sulfur-containing reducing agent. As utilized
 Solvent biphasic media includes, for example, butanone, ethyl           herein, “reducing agent” refers to an agent having the ability
 acetate, butanol, diethyl ether, benzene, chloroform, tetra             to add one or more electrons to an atom, ion or molecule. In
 chloroethylene, toluene, 1,1,1-trichloroethane, carbon tetra            either of the two embodiments described above (i.e., when the
 chloride, dibutyl ether, cyclohexane, hexane, dipentyl ether,           Sulfur-containing compound is a Sulfur-containing nucleo
 heptane, hexadecane, combinations thereof, and the like.                phile or a Sulfur-containing reducing agent), the Sulfur-con
    Generally, a Sufficient amount of media material to Sub              taining compound is a compound having the ability to effect
 stantially solubilize the morphinan-6-one compound and the         25   the reduction of and/or a 1.4 addition across the C. B-unsatur
 C.f3-unsaturated ketone compound in the reaction mixture is             ated bond of the C.f3-unsaturated ketone compound.
 desired. Higher amounts of media material may increase the                 In one embodiment, the Sulfur-containing compound is a
 costs of manufacturing, as the more dilute reaction mixture             Sulfur-containing inorganic acid or salt thereof. Suitable Sul
 may require additional process cycle time, or require the               fur-containing inorganic acids include, for example, hydro
 removal or excess media material during Subsequent process         30   sulfuric acid (HS); sulfurous acid (HSO); persulfuric acid
 ing steps.                                                              (HSOs); thiosulfurous acid (HSO); dithionous acid
    The weight ratio of media material to morphinan-6-one                (HSO); disulfurous acid (H2SOs); dithionic acid
 compound in the reaction mixture is preferably from about               (HSO); pyrosulfuric acid (H2SO4); peroxydisulfuric acid
 1:1 to about 50:1. More preferably, the weight ratio of media           (H2SOs); trithionic acid (H2SO); tetrathionic acid
 material to morphinan-6-one compound in the reaction mix           35   (HSO); pentathionic acid (HSSO); chlorosulfonic acid
 ture is from about 1:1 to about 25:1. For example, the weight           (HSOCl); furosulfonic acid (HSOF); sulfamic acid
 ratio of media material to morphinan-6-one compound in the              (HSONH); salts thereof; and the like.
 reaction mixture may be from about 1:1 to about 5:1, from                  Generally, the Sulfur-containing inorganic acid salt may be
 about 1:1 to about 10:1, from about 1:1 to about 15:1, or from          an alkali metal salt or an alkaline earth metal salt. For
 about 1:1 to about 20:1. Still more preferably, the weight ratio   40   example, the Salt may be a monovalent or divalent cation
 of media material to morphinan-6-one compound in the reac               selected from Li", Na', K", Rb, Cs", Fr", Be", Mg, Ca",
 tion mixture is from about 5:1 to about 25:1. For example, the          Sr*., Ba', or Ra". Preferably, the salt is selected from the
 weight ratio of media material to morphinan-6-one com                   group consisting of Li", Na', K", Mg", Ca", and combina
 pound in the reaction mixture may be from about 5:1 to about            tions thereof.
 10:1, from about 5:1 to about 15:1, or from about 5:1 to about     45      Alternatively, the Sulfur-containing inorganic acid salt may
 20:1. Still more preferably, the weight ratio of media material         be an ammonium salt (NH) or a quaternary ammonium salt.
 to morphinan-6-one compound in the reaction mixture is                  For example, the Sulfur-containing inorganic acid salt may be
 from about 5:1 to about 15:1. For example, the weight ratio of          a tetraalkylated ammonium salt; that is, a quaternary ammo
 media material to morphinan-6-one compound in the reaction              nium salt Substituted with four alkyl groups preferably having
 mixture may be from about 5:1 to about 6:1, from about 5:1 to      50   from 1 to about 18 carbon atoms. Suitable tetraalkylated
 about 7:1, from about 5:1 to about 8:1, from about 5:1 to about         ammonium salts include, for example, tetramethylammo
 9:1, from about 5:1 to about 10:1, from about 5:1 to about              nium salts, tetraethylammonium salts, tetrapropylammonium
 11:1, from about 5:1 to about 12:1, from about 5:1 to about             salts, tetrabutylammonium salts, and the like.
 13:1, or from about 5:1 to about 14:1. Most preferably, the                In one particular embodiment, the Sulfur-containing inor
 weight ratio of media material to morphinan-6-one com              55   ganic acid is dithionous acid (H2SO) or salts thereof. By
 pound in the reaction mixture is from about 5:1 to about 11:1.          way of example, salts of dithionous acid include MHSO and
 It will be understood that some portion of the media material           MSO, wherein M is selected from alkali metal salts, alka
 may be derived from the Sulfur-containing compound itself               line earth metal salts, ammonium salt (NH), and quaternary
 (e.g., as water of hydration).                                          ammonium salts. According to this embodiment, the C. B
    Optionally, a phase transfer catalyst may also be added to      60   unsaturated ketone compound is chemically reduced to form
 the aqueous/organic solvent biphasic media. The phase trans             the morphinan-6-one compound upon treatment with the Sul
 fer catalyst is preferably any suitable composition for use in          fur-containing compound, discussed in further detail below.
 the transfer of reactants (i.e., morphinan-6-one compounds,                In another particular embodiment, the Sulfur-containing
 C.f3-unsaturated ketone compounds, and/or Sulfur-containing             inorganic acid is selected from the group consisting of Sulfu
 compounds) between the aqueous and organic solvent inter           65   rous acid (H2SOs); disulfurous acid (H2SOs); and salts
 face. Typically, the phase transfer catalyst is an ammonium             thereof. By way of example, salts of sulfurous acid and dis
 based compound, Such as a quaternary ammonium salt. Suit                ulfurous acid include MHSO, MSO, MHSOs, and
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 MSOs wherein M is selected from alkali metal salts, alka                 one compound in the reaction mixture may be from about
 line earth metal salts, ammonium salt (NH), and quaternary               0.8:1 to about 1.0:1, from about 0.8:1 to about 1.2:1, from
 ammonium salts. According to this embodiment, the Sulfur                 about 0.8:1 to about 1.4:1, from about 0.8:1 to about 1.6:1,
 containing inorganic acid or salt thereof is one which disso             from about 0.8:1 to about 1.8:1, from about 0.8:1 to about
 ciates into the bisulfite ion (HSO) and/or the sulfite ion               2.0:1, from about 0.8:1 to about 2.2:1, or from about 0.8:1 to
 (SO) in the reaction mixture. It will be understood by one               about 2.4:1.
 of ordinary skill in the art that sulfurous acid (HSO) gener               The treatment of the reaction mixture with the sulfur-con
 ally exists as a solution of SO (commonly about 6%) in                   taining compound may be carried out in ambient air or in an
 water. The pKa of sulfurous acid (HSO) is about 1.78 and its             oxygen-free environment. Preferably, the treatment is carried
 ionization expression is:                                           10
                                                                          out in an inert atmosphere Such as, for example, argon or
                                                                          nitrogen gas. The treatment is preferably carried out at a
 According to this embodiment, various 1.2- and 1.4-sul                   pressure of from about 0.5 atm to about 2.0 atm. More pref
 fonated addition products are formed from the morphinan-6-               erably, the treatment is carried out at a pressure of from about
 one compound and the C.f3-unsaturated ketone compound by            15   0.75 atm to about 1.5 atm; most preferably from about 0.9 atm
 reaction with the bisulfite ion and/or the sulfite ion, discussed        to about 1.25 atm.
 in further detail below.                                                    In various embodiments, the pH of the reaction mixture
    In another particular embodiment, the Sulfur-containing               during treatment with the Sulfur-containing compound is
 compound is a thiol having the formula: R SH, wherein Ris                greater than about 3. Typically, the pH of the reaction mixture
 hydrocarbyl, substituted hydrocarbyl, or heterocyclo. For                during treatment is less than about 10, although the upper pH
 example, R may be substituted or unsubstituted alkyl, alk                limit may depend on the treatment time and/or solubility of
 enyl, alkynyl, or aryl. Exemplary thiols having the formula              the various reaction mixture components. Preferably, the pH
 R—SH, wherein R is defined as above, include alkyl or aryl               of the reaction mixture during treatment with the sulfur
 thiols such as methanethiol, ethanethiol, benzenethiol, and              containing compound is from about 3 to about 9; more pref
 the like. Other exemplary thiols include thiocarboxylic acids       25   erably from about 6 to about 9. For example, the pH of the
 and salts thereof (e.g., thiobenzoic acid) and thiol-terminated          reaction mixture during treatment with the Sulfur-containing
 carboxylic acids and salts thereof (e.g., thioglycolic acid              compound may be about 3, about 4, about 5, about 6, about 7.
 (mercaptoacetic acid), mercaptopropionic acid, and the like).            about 8, or about 9. Most preferably, the treatment occurs at a
 Still other exemplary thiols include amino acids (e.g., L- or            pH of from about 6 to about 7.25. Upon the addition of the
 D.L-cysteine), other thiol-containing amines and/or quater          30
                                                                          Sulfur-containing compound to the reaction mixture includ
 nary salts thereof (e.g., cysteamine HCl, thiocholine, and the           ing the morphinan-6-one compound and the C.f3-unsaturated
 like), or polymer-bound thiols (e.g., polycysteine, polyviny             ketone compound, the pH may be adjusted to the desired level
 larylthiol, and the like). In one preferred embodiment, the              (e.g. using a base Such as ammonium hydroxide). Other Suit
 thiol is benzenethiol. Without being bound to one theory, it is          able bases include, for example, Sodium hydroxide, potas
 believed that the thiol forms various 1,2- and 1,4-sulfonated       35
 addition products from the morphinan-6-one compound and                  sium hydroxide, and the like.
 the C.f3-unsaturated ketone compound.                                       The time of reaction is generally a function of the other
    The amount of Sulfur-containing compound utilized to                  variables in the reaction, such as pH, ratio of media material
 treat the reaction mixture may vary considerably according to            to morphinan-6-one compound, amount of Sulfur-containing
 the various reaction mixture components (such as the particu        40   compound, and the like. Typically, some reduction of the
 lar morphinan-6-one compound, the C.B-unsaturated ketone                 concentration of C.B-unsaturated ketone compound in the
 compound, and/or the media material) and concentrations                  reaction mixture can be observed after about 1 hour. Prefer
 thereof, time of reaction, temperature, pressure, and the like.          ably, the reaction mixture is treated with the Sulfur-containing
 Relatively high usage rates of Sulfur-containing compound                compound for at least about 1 hour. In some embodiments, the
 generally offer no significant advantages and tend to waste         45   time of reaction is less than about 24 hours. In other embodi
 chemicals and/or reactor Volume.                                         ments, the time of reaction is from about 1 hour to about 18
    The molar ratio of Sulfur-containing compound to morphi               hours; in still other embodiments from about 1 hour to about
 nan-6-one compound in the reaction mixture is typically                  15 hours; in still other embodiments from about 1 hour to
 greater than about 0.5:1. Preferably, the molar ratio of sulfur          about 10 hours. More preferably, the reaction mixture is
 containing compound to morphinan-6-one compound in the              50   treated with the sulfur-containing compound for about 1 hour
 reaction mixture is from about 0.5:1 to about 3.0:1. For                 to about 5 hours. For example, the reaction mixture may be
 example, the molar ratio of Sulfur-containing compound to                treated with the Sulfur-containing compound for about 1 hour,
 morphinan-6-one compound in the reaction mixture may be                  for about 2 hours, for about 3 hours, for about 4 hours, or for
 from about 0.5:1 to about 0.8:1, from about 0.5:1 to about               about 5 hours.
 1.0:1, from about 0.5:1 to about 1.5:1, from about 0.5:1 to         55     The temperature of the reaction mixture during treatment
 about 2.0:1, or from about 0.5:1 to about 2.5:1. More prefer             with the Sulfur-containing compound is generally from about
 ably, the molar ratio of Sulfur-containing compound to mor               0° C. to about 100° C. For example, the temperature of the
 phinan-6-one compound in the reaction mixture is from about              reaction mixture during treatment with the Sulfur-containing
 0.6:1 to about 2.8:1. For example, the molar ratio of sulfur             compound may be from about 10° C. to about 90° C., from
 containing compound to morphinan-6-one compound in the              60   about 20°C. to about 80°C., or from about 30°C. to about 70°
 reaction mixture may be from about 0.6:1 to about 0.8:1, from            C. Preferably, the temperature of the reaction mixture during
 about 0.6:1 to about 1.0:1, from about 0.6:1 to about 1.5:1,             treatment with the Sulfur-containing compound is above
 from about 0.6:1 to about 2.0:1, or from about 0.6:1 to about            room temperature. The preferred reaction temperature may
 2.5:1. Most preferably, the molar ratio of sulfur-containing             vary for each morphinan-6-one. More preferably, the tem
 compound to morphinan-6-one compound in the reaction                65   perature of the reaction mixture during treatment with the
 mixture is from about 0.8:1 to about 2.5:1. For example, the             sulfur-containing compound is from about 30°C. to about 50°
 molar ratio of Sulfur-containing compound to morphinan-6-                C. For example, the temperature of the reaction mixture dur
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 ing treatment with the Sulfur-containing compound may be                 5811-5814; Louis-Andre et al., Tetrahedron Letters, Vol. 26,
 about 30° C., about 35° C., about 40° C., about 45° C., or               No. 7, 1985, 831-832). By way of example, dithionous acid
 about 50° C.                                                             (H2SO4) and salts thereof (e.g., MHSO or MSO,
    Once the treatment is complete or has proceeded as long as            wherein M is defined as above) operate according to this
 desired, the treated morphinan-6-one compound is recovered               mechanism; other Sulfur-containing compounds, however,
 to produce the morphinan-6-one product. Advantageously,                  may also operate according to the same or a similar mecha
 the morphinan-6-one compound may be recovered from the                   nism. Reaction Scheme 11 generally illustrates the reduction
 reaction mixture without the use of an organic solvent. The              of the C.B-unsaturated ketone compound (3) to form the
 absence of the need for organic solvents in the recovery                 desired morphinan-6-one compound (2) according to this
 process not only provides various environmental and material             embodiment, wherein X, R. R. R. Rio, and Ra are defined
 handling benefits, but also results in a more efficient process          as above.




                                                                                         Sulfur-containing
                                                                                            compound



                         (2)                                   (3)                                                       (2)


 Suitable for industrial scale applications. Typically, the mor             In an alternative embodiment, various 1.2- and 1.4-sul
 phinan-6-one compound is precipitated from the reaction             30   fonated addition products are formed during treatment that
 mixture as a base (or salt if desirable) and may then be readily         assist in the removal of the C.f3-unsaturated ketone com
 converted into a generally more pharmaceutically acceptable              pounds from the reaction mixture. As noted above, several
 form, if so desired. For example, the pH of the reaction                 Sulfur-containing compounds dissociate into various Sulfur
 mixture is typically adjusted to about 9-10 or greater with a       35
                                                                          containing species. In particular, Sulfurous acid (H2SO).
 Suitable base Such as ammonium hydroxide, and the (desired)              disulfurous acid (H2SOOs), and their salts dissociate into,
 precipitated compound recovered. Generally speaking, this                among other things, bisulfite (HSOs) and sulfite (SO).
                                                                            Bisulfite has been shownto add via radical initiation across
 pH is at the point wherein opium alkaloids are not ionized.              isolated double bonds (see, e.g., March, J., Advanced Organic
 The morphinan-6-one compounds can then be optionally                     Chemistry, p. 688, J. Wiley & Sons, 1985, 3d. ed.) and/or add
 converted into a form more physiologically tolerable, such as            viaan ionic mechanism (see, e.g., Gilbert, E.; Sulfonation and
 the hydrochloride salt, e.g., oxycodone HCl, using conven                Related Reactions, p. 152, Interscience, N.Y. 1965; Patai et
 tional methods known to those of skill in the art. For example,          al., The Chemistry of Alkenes, p. 478, Interscience, London
 the morphinan-6-one base can be dissolved or otherwise dis               1965). Without being bound to one theory, it is believed that
 persed in water, reacted with an acid such as HCl, heated, and      45   when the reaction mixture is treated with sulfurous acid,
 cooled to precipitate the morphinan-6-one salt. By way of an             disulfurous acid, or salts thereof and the pH is adjusted to
 alternative example, the morphinan-6-one base can be dis                 between about 3 and about 9, certain 1,2- and 1,4-addition
 Solved or otherwise dispersed in an alcohol solvent (e.g.,               products and adducts are stably and/or reversibly formed
 methanol, ethanol, etc.) or a solvent system (i.e., a mixture of         from the C.B-unsaturated ketone compound and the morphi
 solvents), reacted with concentrated HCl or an HCl/alcohol          50   nan-6-one compound. It is further believed that the products
 mixture, and cooled to precipitate the morphinan-6-one                   are generally stable within the pH range of from about 3 to
 hydrochloride salt By way of another example, the morphi                 about 9, and adjusting the pH outside of this range after their
 nan-6-one base can be dissolved or otherwise dispersed in                formation from the C.B-unsaturated ketone compounds and
                                                                          the morphinan-6-one compounds facilitates the removal of
 water, alcohol Solvent, or a solvent system, reacted with gas       55   the C. B-unsaturated ketone compound from the reaction mix
 eous HCl, heated, and cooled to precipitate the morphinan                ture, resulting in a highly pure morphinan-6-one product.
 6-one hydrochloride salt.                                                   One preferred embodiment of the present invention is illus
   Treatment Reaction Mechanisms                                          trated in Reaction Schemes 12A and 12B, wherein X, R. R.
    Without being bound to one theory, it is believed that the            R. Rio, and Ra are defined as above and M is a monovalent
 reduction of the concentration of C.B-unsaturated ketone            60   or divalent cation. For example, M may be one or more alkali
 compounds in the reaction mixture is performed via different             metal or alkaline earth metal monovalent or divalent cations
 mechanisms, depending on the particular Sulfur-containing                from the Sulfur-containing compound. Alternatively, M may
 compound selected to treat the reaction mixture.                         be one or more monovalent or divalent cations from the
    In one embodiment, the C. B-unsaturated ketone compound               alkaline compound (e.g., NaOH, KOH, NH4OH, etc.) used to
 is reduced by the Sulfur-containing compound to form the            65   adjust the pH of the reaction mixture to between about 3 and
 desired C.f3-saturated morphinan-6-one compound. See, e.g.,              about 9 after the addition of the sulfur-containing compound
 Camps et al., Tetrahedron Letters, Vol. 29, No. 45, 1988,                to the reaction mixture.
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                                                                            containing compound at a pH of between about 3 and about 9.
                                                                            While it is understood that sulfurous acid, disulfurous acid,
                                                                            and salts thereof operate according to the mechanism illus
                                                                            trated in Reaction Schemes 12A, 12B, and 12C, other sulfur
                                                                       5 containing compounds may also operate according to the
                                                                         same or a similar mechanism. For example, thiols (e.g., ben
                                                                         Zenethiol) may also operate according to the mechanism
                                                                            described in connection with Reaction Schemes 12A, 12B,
                                                                            and 12C.
                                                                       10
                                                                               Particularly, when the reaction mixture is treated with a
                                                                            Sulfur-containing compound and the pH of the reaction mix
                                                                            ture is adjusted to between about 3 and about 9, the morphi
           (2)                                                              nan-6-one compound (2) forms the reversible, water-soluble
                 Sulfur-containing    3 < pH<9                         15 12-bisulfite adduct (2A). Once the reaction mixture is suffi
                    compound                                                ciently in solution in the media material and/or the sulfur
                                                                            containing compound, dissociated Sulfur specie (such as
                                                                            sulfite and bisulfite) react more readily with the C.B-unsatur
                                                                            ated ketone compound (3) also present in the reaction mix
                                                                       20 ture.
                                                                              As illustrated in Reaction Scheme 12B, one reaction
                                                                            between the C.B-unsaturated ketone compound (3) and the
                                                                            Sulfur-containing compound involves the rapid and reversible
                                                                       as 1,2-addition of the bisulfite to the carbonyl (similar to the
                                                                            reaction of the Sulfur-containing compound with the morphi
                                                                            nan-6-one compound illustrated in Reaction Scheme 12A) to
                                                     (2A)                   form the reversible 1,2-adduct (3A) from the C.B-unsaturated
                                                                            ketone compound (3). Another reaction between the sulfur
                                                                            containing compound and the C.B-unsaturated ketone com
                                                Reaction Scheme 12B




                                --    Sulfur-containing     3 <-3-3
                                                                pH<9
                                         compound




           (3)                                                                           (3A)




                                                                  Sulfur-containing
                                                                     compound




                                                                                                (3C)


    As shown in Reaction Schemes 12A and 12B, various        pound (3) is the slower 1,4-addition, forming the more stable
 1.2-and 1,4-sulfonated compounds are formed from the mor-   1,4-addition product (3B). The introduction of the sulfonate
 phinan-6-one compound (2)(scheme 12A) and the C.B-unsat- 65 group in the B-position generally enhances the reactivity of
 urated ketone compound (3)(scheme 12B) upon treatment of the carbonyl group by destroying its conjugation with the
 a reaction mixture including these compounds with a Sulfur- double bond, such that the reversible product is a 1.2- and
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 1,4-bis adduct (3C)(see Pataietal. The Chemistry of Alkenes,    the pH outside of the range between about 3 and about 9 (i.e.,
 p. 478, Interscience, London 1965).                             the pH is adjusted to less than about 3 or the pH is adjusted to
   Reaction Scheme 12C illustrates the removal of certain        greater than about 9) with an acid (e.g., Sulfuric acid (H2SO4))
 addition products formed in the reaction mixture according to   or a base (e.g., ammonium hydroxide (NH4OH)) results in the
 Reaction Schemes 12A and 12B and the resulting highly pure      decomposition of the 1,2-addition products of each com
 morphinan-6-one product, wherein X, R. R. R. Rio, Ra,           pound, rendering the desired morphinan-6-one compound (2)
 and Mare defined as above.                                      insoluble in water. The relatively more stable 1,4-addition




                                                                         3 > pH > 9




               (2A)                                (3C)




                                                                       (2)                                    (3B)

                                                                                            1. alkaline pH
                                                                                            2. removal of (3B) with
                                                                                               mother liquor mixture




                                                                                                (2)


    As illustrated in Reaction Scheme 12C, the removal of the    product (3B) formed from the C.B-unsaturated ketone com
 C.f3-unsaturated ketone addition products is generally based pound remains and is water-soluble in the final mixture at an
 in the differences in solubility of the 1,4-addition product 65 alkaline pH (e.g., pH~9 or greater). The 1,4-addition product
 (3B) generated from the C. B-unsaturated ketone compound (3B) may thus be removed from the mixture with the mother
 and the desired morphinan-6-one compound (2). Adjusting liquor, leaving the insoluble morphinan-6-one base (2). The
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 desired morphinan-6-one base may then be converted into a                  containing compound at a pH of between about 3 and about 9.
 more physiologically-tolerable salt form, such as the hydro                As discussed above, while it is generally understood that
 chloride Salt, using methods known to those of skill in the art.           Sulfurous acid, disulfurous acid, and salts thereof operate
   One particularly preferred embodiment of the present                     according to the mechanism described in Reaction Schemes
 invention is illustrated in Reaction Schemes 13A and 13B,                  13A and 13B, other Sulfur-containing compounds may also
 wherein M is defined as above.                                             operate according to the same or a similar mechanism.
                                                                               Particularly, when the reaction mixture is treated with a
                                                                            Sulfur-containing compound and the pH of the reaction mix
                                                                            ture is adjusted to between about 3 and about 9, oxycodone
                                                                            (20) forms the reversible, water-soluble 1,2-bisulfite adduct
                                                                            (20A). Once the reaction mixture is sufficiently in solution in
                                                                            the media material and the Sulfur-containing compound, dis
                                                                            Sociated Sulfur specie (such as Sulfite and bisulfite) react more
                                                                            readily with the 14-hydroxycodeinone (30) also present in the
                                                                            reaction mixture.
                                                                                 As illustrated in Reaction Scheme 13B, one reaction
                                                                            between 14-hydroxycodeinone (30) and the sulfur-contain
             (20)                                                           ing compound involves the rapid and reversible 1.2-addition
                    Sulfur-containing   -3 < PTS
                                              H< 9
                                                   -                        of the sulfite to the carbonyl (similar to the reaction of the
                       compound
                                                                            Sulfur-containing compound with oxycodone illustrated in
                                                                            Reaction Scheme 13A) to form the reversible 1,2-adduct
                                                                            (30A) from 14-hydroxycodeinone. Another reaction between
                                                                            the Sulfur-containing compound and 14-hydroxycodeinone
                                                                            (30) is the slower 1,4-addition, forming the more stable 1,4-
                                                                            addition product (30B). The introduction of the sulfonate
                                                                            group in the B-position generally enhances the reactivity of
                                                                            the carbonyl group by destroying its conjugation with the
                                                       (20A)                double bond, such that the reversible product is a 1.2- and
                                                                            1,4-bis adduct (30C) (see Patai et al., The Chemistry of Alk
                                                                            enes, p. 478, Interscience, London 1965).
                                                           Reaction Scheme 13B



                                             --    Sulfur-containing        Ps'
                                                      compound




                     (30)                                                                               (30A)




                                                                                  ---
                                                                                    Sulfur-containing
                                                                                       compound




   As shown in Reaction Schemes 13A and 13B, various                             Reaction Scheme 13C illustrates the removal of
 Sulfonated compounds are formed from oxycodone (20) certain addition products formed in the reaction
 (scheme 13A) and the O.B-unsaturated ketone compound 65 mixture according to Reaction Schemes 13A and 13B and the
 14-hydroxycodeinone (30)(scheme 13B) upon treatment of a resulting highly pure oxycodone, wherein M is defined as
 reaction mixture including these compounds with a Sulfur above.
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                (20A)




                                                         (20)

                                                                                   1. alkaline pH
                                                                                   2. removal of (30B) with
                                                                                      mother liquor mixture




                                                                                           (20)

                                                                    40
   As illustrated in Reaction Scheme 13C, the removal of the             bisulfites) in the reaction mixture and/or final morphinan-6-
 14-hydroxycodeinone addition products is generally based                one product. Accordingly, the residual Sulfur-containing spe
 on the differences in solubility of the 1,4-addition product            cies may be optionally Substantially removed from the reac
 (30B) generated from 14-hydroxycodeinone and the desired                tion mixture following the treatment with the sulfur
                                                                    45
 oxycodone (20). Adjusting the pH outside of the range                   containing compound using a variety of methods known to
 between about 3 and about 9 (i.e., the pH is adjusted to less           those of skill in the art.
 than about 3 or greater than about 9) with an acid (e.g.,                 As described above, in various embodiments 1.2- and 1,4-
 Sulfuric acid (H2SO4)) or a base (e.g., ammonium hydroxide              sulfonated addition products may be formed by the reaction
 (NH4OH)) results in the decomposition of the 1,2-addition          50
                                                                         of a Sulfur-containing compound with the morphinan-6-one
 products of each compound, rendering the desired oxycodone              compound and the C.f3-unsaturated ketone compound at a pH
 (20) insoluble in water. The relatively more stable 1,4-addi            of between about 3 to about 9. The adjustment of the pH
 tion product (30B) formed from 14-hydroxycodeinone                      outside of this range eliminates the 1,2-addition products,
 remains and is water soluble in the final mixture at an alkaline        renders the morphinan-6-one compound insoluble in water,
 pH (e.g., pH ~9 or greater). The 1,4-addition product (30B)        55   and the remaining water soluble 1,4-addition product can be
 may thus be removed from the mixture with the mother                    removed in the waste stream.
 liquor, leaving the insoluble oxycodone base (20). The oxy                 To optionally substantially remove the residual sulfur-con
 codone base may then be converted into a more physiologi                taining species upon completion of the reaction with the
 cally-tolerable Salt form, such as the hydrochloride Salt, using        Sulfur-containing compound, the pH of the reaction mixture
 methods known to those of skill in the art.                        60   may be adjusted to less than about 3 (instead of adjusting the
   Removal of Residual Sulfur-Containing Species from the                pH to greater than 9) with an acid (e.g., Sulfuric acid (HSO))
 Reaction Mixture                                                        and manipulated prior to the precipitation of the morphinan
    Using the process described herein to reduce the concen              6-one compound as described in detail above. More prefer
 tration of C. B-unsaturated ketone compounds from a reaction            ably, the pH is adjusted to less than about 2. The reduction in
 mixture by treating the reaction mixture with a Sulfur-con         65   pH converts any residual Sulfur species that may be present in
 taining compound may result in the undesirable accumulation             the reaction mixture into SO gas, which typically has a
 of residual Sulfur-containing species (such as Sulfites and             limited solubility in water. In one embodiment, the SO gas
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 may then be optionally heat refluxed out of the reaction mix            atoms. They may be straight or branched chain or cyclic and
 ture by conventional means known to those of skill in the art.          include ethenyl, propenyl, isopropenyl, butenyl, isobutenyl,
 Typically, the reaction mixture is heat refluxed for about 2            hexenyl, and the like.
 hours to about 5 hours. The temperature and pressure during               The term “alkynyl' as used herein describes groups which
 reflux are also generally variable. For example, the tempera       5    are preferably lower alkynyl containing from two to eight
 ture of the reaction mixture during reflux is typically from            carbon atoms in the principal chain and up to 20 carbon
 about 20° C. to about 100° C., and the reflux may be per                atoms. They may be straight or branched chain and include
 formed at a pressure of from about 0.003 atm to about 1.0 atm.          ethynyl, propynyl, butynyl, isobutynyl, hexynyl, and the like.
 Alternatively, substantially all of the water (and the SO gas)            The term “aromatic' as used herein alone or as part of
 may be optionally distilled off to a receiver tank and dis         10   another group denotes optionally substituted homo- or het
 carded. This procedure is also generally known to those of              erocyclic aromatic groups. These aromatic groups are pref
 skill in the art.
                                                                         erably monocyclic, bicyclic, or tricyclic groups containing
    As discussed above, after treatment of the reaction mixture
                                                                         from 6 to 14 atoms in the ring portion. The term “aromatic'
                                                                         encompasses the “aryl and "heteroaryl groups defined
 with the Sulfur-containing compound to reduce the concen           15   below.
 tration of the C.f3-unsaturated ketone compound in the reac                The term “aryl' as used herein alone or as part of another
 tion mixture, the morphinan-6-one compound is recovered to              group denote optionally Substituted homocyclic aromatic
 produce the desired morphinan-6-one product. Generally                  groups, preferably monocyclic or bicyclic groups containing
 speaking, recovery refers to one or more of the precipitation,          from 6 to 12 carbons in the ring portion, such as phenyl,
 filtration and drying of the morphinan-6-one base, the forma            biphenyl, naphthyl, substituted phenyl, substituted biphenyl
 tion of the physiologically acceptable morphinan-6-one salt             or substituted naphthyl. Phenyl and substituted phenyl are the
 (e.g., the hydrochloride salt), the removal of the residual             more preferred aryl.
 Sulfur-containing species, and/or combinations thereof, to                 The terms “halogen.” “halide' or “halo' as used herein
 produce a morphinan-6-one product.                                      alone or as part of another group refer to chlorine, bromine,
    The treatment of the reaction mixture with a sulfur-con         25   fluorine, and iodine.
 taining compound according to the various processes and                   The term "heteroatom' shall mean atoms other than carbon
 embodiments described herein significantly reduces the con              and hydrogen.
 centration of C.f3-unsaturated ketone compounds in the reac                The terms "heterocyclo” or "heterocyclic” as used herein
 tion mixture, and a highly pure morphinan-6-one product                 alone or as part of another group denote optionally Substi
 may be produced therefrom. Typically, the morphinan-6-one          30   tuted, fully saturated or unsaturated, monocyclic or bicyclic,
 product comprises less than about 0.1% (by weight morphi                aromatic or non-aromatic groups having at least one heteroa
 nan-6-one product) of an O.f3-unsaturated ketone compound.              tom in at least one ring, and preferably 5 or 6 atoms in each
 For example, the morphinan-6-one product may comprise                   ring. The heterocyclo group preferably has 1 or 2 oxygen
 less than about 0.05% (by weight morphinan-6-one product)               atoms and/or 1 to 4 nitrogenatoms in the ring, and is bonded
 of an O.f3-unsaturated ketone compound Preferably, the mor
                                                                    35   to the remainder of the molecule through a carbon or heteroa
                                                                         tom. Exemplary heterocyclo groups include heteroaromatics
 phinan-6-one product comprises less than about 0.01% (by                Such as furyl, pyridyl, oxazolyl pyrrolyl, indolyl, quinolinyl,
 weight morphinan-6-one product) of an O.B-unsaturated                   or isoquinolinyl and the like. Exemplary Substituents include
 ketone compound. For example, the morphinan-6-one prod                  one or more of the following groups: hydrocarbyl, Substituted
 uct may comprise less than about 0.005% (by weight mor             40   hydrocarbyl, hydroxy, protected hydroxy, acyl, acyloxy,
 phinan-6-one product) of an O.f3-unsaturated ketone com                 alkoxy, alkenoxy, alkynoxy, aryloxy, halogen, amido, amino,
 pound. More preferably, the morphinan-6-one product                     cyano, ketals, acetals, esters and ethers.
 comprises less than about 0.001% (by weight morphinan-6-                   The term "heteroaromatic” as used herein alone or as part
 one product) of an O.f3-unsaturated ketone compound. For                of another group denote optionally Substituted aromatic
 example, the morphinan-6-one product may comprise less             45   groups having at least one heteroatom in at least one ring, and
 than about 0.0005% (by weight morphinan-6-one product) of               preferably 5 or 6 atoms in each ring. The heteroaromatic
 an C.f3-unsaturated ketone compound. Still more preferably,             group preferably has 1 or 2 oxygenatoms, 1 or 2 sulfur atoms,
 no detectable amount of an O.f3-unsaturated ketone com                  and/or 1 to 4 nitrogenatoms in the ring, and may be bonded to
 pound is present in the morphinan-6-one product.                        the remainder of the molecule through a carbon or heteroa
                                                                    50   tom. Exemplary heteroaromatics include furyl, thienyl,
           ABBREVIATIONS AND DEFINITIONS                                 pyridyl, oxazolyl pyrrolyl, indolyl, quinolinyl, or isoquino
                                                                         linyl and the like. Exemplary substituents include one or more
    The following definitions and methods are provided to                of the following groups: hydrocarbyl, substituted hydrocar
 better define the present invention and to guide those of ordi          byl, keto, hydroxy, protected hydroxy, acyl, acyloxy, alkoxy,
 nary skill in the art in the practice of the present invention.    55   alkenoxy, alkynoxy, ary toxy, halogen, amido, amino, nitro,
 Unless otherwise noted, terms are to be understood according            cyano, thiol, ketals, acetals, esters and ethers.
 to conventional usage by those of ordinary skill in the relevant           The term “acyl as used herein alone or as part of another
 art.                                                                    group, denotes the moiety formed by removal of the hydroxy
   The term “alkyl as used herein describes groups which are             group from the group —COOH of an organic carboxylic acid,
 preferably lower alkyl containing from one to eight carbon         60   e.g., RC(O)—, wherein R is R', RO , RRN-, or R'S ,
 atoms in the principal chain and up to 20 carbonatoms. They             R" is hydrocarbyl, heterosubstituted hydrocarbyl, or hetero
 may be straight or branched chain or cyclic and include                 cyclo, and R is hydrogen, hydrocarbyl or substituted hydro
 methyl, ethyl, propyl, isopropyl, allyl, benzyl, hexyl and the          carbyl.
 like.                                                                      The term “acyloxy, as used herein alone or as part of
   The term “alkenyl as used herein describes groups which          65   another group, denotes an acyl group as described above
 are preferably lower alkenyl containing from two to eight               bonded through an oxygen linkage (-O ), e.g., RC(O)O—
 carbon atoms in the principal chain and up to 20 carbon                 wherein R is as defined in connection with the term “acyl.”
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    The term "heteroaryl' as used herein alone or as part of             Furthermore, it should be appreciated that all examples in the
 another group denote optionally Substituted aromatic groups             present disclosure are provided as non-limiting examples.
 having at least one heteroatom in at least one ring, and pref
 erably 5 or 6 atoms in each ring. The heteroaryl group pref                                     EXAMPLE 1.
 erably has 1 or 2 oxygen atoms and/or 1 to 4 nitrogen atoms
 in the ring, and is bonded to the remainder of the molecule               In this Example, an oxycodone HCl sample was treated
 through a carbon. Exemplary heteroaryls include furyl, ben              with a sulfur-containing compound according to the pro
 Zofuryl, oxazolyl, isoxazolyl, oxadiazolyl, benzoxazolyl,               cesses described herein.
 benzoxadiazolyl pyrrolyl pyrazolyl, imidazolyl, triazolyl,                 To a 250 ml, 3 neck round bottom flask equipped with a
 tetrazolyl pyridyl, pyrimidyl, pyrazinyl, pyridaZinyl, indolyl,    10   mechanical stirrer, N inlet, and thermocouple for tempera
 isoindolyl, indolizinyl, benzimidazolyl, indazolyl, benzotria           ture control was added 10g of oxycodone HCl (0.028 moles:
 Zolyl, tetraZolopyridazinyl, carbazolyl, purinyl, quinolinyl,           >0.3% by weight 14-hydroxycodeinone (14-OHC) impu
 isoquinolinyl, imidazopyridyl and the like. Exemplary Sub               rity). Next, with mixing 100 g of deoxygenated water (10
 stituents include one or more of the following groups: hydro            minute N purge) was added. The Solution pH was adjusted to
                                                                    15   about 6 with ammonium hydroxide. Next, 5.0 g of sodium
 carbyl, substituted hydrocarbyl, hydroxy, protected hydroxy,
 acyl, acyloxy, alkoxy, alkenoxy, alkynoxy, aryloxy, halogen,            dithionite (Na2SO4) was added. The pH was then adjusted to
 amido, amino, cyano, ketals, acetals, esters and ethers.                about 7 with concentrated ammonium hydroxide. The result
    The terms “hydrocarbon and “hydrocarbyl as used                      ing mixture was stirred at 70° C. for about 16 hours.
                                                                            After about 16 hours, the pH was adjusted to about 9 with
 herein describe organic compounds or radicals consisting                ammonium hydroxide, precipitating the oxycodone base. The
 exclusively of the elements carbon and hydrogen. These moi              mixture was stirred for about 1 hour, and the precipitated
 eties include alkyl, alkenyl, alkynyl, and aryl moieties. These         oxycodone base was filtered, washed with water, and dried
 moieties also include alkyl, alkenyl, alkynyl, and aryl moi             overnight at 40°C. under reduced pressure.
 eties substituted with other aliphatic or cyclic hydrocarbon               The oxycodone base sample was converted to the oxyc
 groups, such as alkaryl, alkenaryland alkynary1. Unless oth        25   odone HCl salt by dissolving about 14.5g of the oxycodone
 erwise indicated, these moieties preferably comprise 1 to 20            base in a 100 ml, 3 neck round bottom flask equipped with a
 carbon atoms.                                                           mechanical stirrer, N inlet, and thermocouple for tempera
   The “substituted hydrocarbyl moieties described herein                ture control. Next, with mixing about 29 g of H2O and about
 are hydrocarbyl moieties which are substituted with at least            12.6 g of concentrated HCl was added. The resulting mixture
                                                                    30
 one atom other than carbon, including moieties in which a               was heated to about 65° C.-75° C. until substantially all was
 carbon chain atom is Substituted with a hetero atom such as             in Solution. The heat was then removed, resulting in the pre
 nitrogen, oxygen, silicon, phosphorous, boron, Sulfur, or a             cipitation of the oxycodone HCl salt. The precipitated mix
 halogen atom. These Substituents include halogen, heterocy              ture was stirred for about 1-3 hours at less than about 10° C.
 clo, alkoxy, alkenoxy, aryloxy, hydroxy, protected hydroxy,             and filtered to collect the precipitated oxycodone HC1.
                                                                    35     The 14-hydroxycodeinone (14-OHC) content was ana
 acyl, acyloxy, nitro, amino, amido, nitro, cyano, ketals,               lyzed in the oxycodone base sample and the oxycodone HC1
 acetals, esters and ethers.                                             sample using an Agilent HPLC with MS interface capability.
    The term “hydroxy protecting group' refers to hydrocarbyl            The results are illustrated in Table 1.
 and substituted hydrocarbyl moieties which bond to an
 hydroxy oxygen atom in a molecule so as to protect that            40                              TABLE 1
 oxygen atom from further reaction during synthesis. This
 protection allows reactions to occur selectively at another                    Initial 14-               Final 14-OHC content
 reaction site on the same molecule. Examples of hydroxy                      OHC content        Oxycodone base        Oxycodone HCI
 protecting groups include, but are not limited to, ethers such                 (% by wt.)          (% by wt.)            (% by wt.)
 as methyl, t-butyl, benzyl, p-methoxybenzyl, p-nitrobenzyl,        45
                                                                                   O.3               O.OOOS                 O.OOOS
 allyl, trityl, methoxymethyl, methoxyethoxymethyl, ethoxy
 ethyl, tetrahydropyranyl, tetrahydrothiopyranyl, and trialkyl
 silyl ethers such as trimethylsilyl ether, triethylsilyl ether,
 dimethylarylsilyl ether, triisopropylsilyl ether and t-bu                                    EXAMPLES 2A-2G
                                                                    50
 tyldimethylsilyl ether; esters such as benzoyl, acetyl, pheny
 lacetyl, formyl, mono-, di-, and trihaloacetyl Such as chloro              In Examples 2A-2G, an oxycodone HCl sample was
 acetyl, dichloroacetyl, trichloroacetyl, trifluoroacetyl; and           treated with a Sulfur-containing compound according to the
 carbonates including but not limited to alkyl carbonates hav            processes described herein. The treatment was performed at
 ing from one to six carbon atoms such as methyl, ethyl,                 various temperatures, times of reaction, concentration of
 n-propyl, isopropyl. n-butyl, t-butyl, isobutyl, and n-pentyl:     55   reactants, and pH.
 alkyl carbonates having from one to six carbon atoms and                                        Example 2A
 Substituted with one or more halogen atoms such as 2.2.2-
 trichloroethoxymethyl and 2.2.2-trichloroethyl; alkenyl car                To a 100 ml, 3 neck round bottom flask equipped with a
 bonates having from two to six carbon atoms such as vinyl          60   mechanical stirrer, N inlet, and thermocouple for tempera
 and allyl; cycloalkyl carbonates have from three to six carbon          ture control was added 9.2 g of wet oxycodone HCl (0.02
 atoms Such as cyclopropyl, cyclobutyl, cyclopentyl and                  moles; 0.13% by weight 14-hydroxycodeinone (14-OHC)
 cyclohexyl; and phenyl or benzyl carbonates optionally Sub              impurity). Next, with mixing 36.2 g of HO and 40.3 g of 6 wt.
 stituted on the ring with one or more C alkoxy, or nitro.               % SO/HO solution was added. The resulting mixture was
    Having described the invention in detail, it will be apparent   65   heated to about 30° C. and the solution pH was adjusted to
 that modifications and variations are possible without depart           about 6 with ammonium hydroxide. The mixture was stirred
 ing the scope of the invention defined in the appended claims.          for about 3 hours. The pH of the mixture was then adjusted to
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 about 8.8-9.8 with concentrated ammonium hydroxide and
 stirred for about 30 minutes. The precipitated oxycodone base
 was then filtered from the mother liquor, washed with about
 25.73 g of HO, and dried. The 14-hydroxycodeinone content
 (14-OHC) in the oxycodone base was then measured as 5
 described in the preceding Example.
    The experiment was repeated using identical reagents,
 amounts thereof, and conditions to form the oxycodone base
 sample. This oxycodone base sample was converted to the
 oxycodone HCl salt as described in the preceding example. 10
 The 14-hydroxycodeinone content (14-OHC) in the oxyc
 odone base sample and the oxycodone HCl sample were then
 measured.
   Results and reaction conditions for this experiment are
 illustrated in Table 2.
                                           TABLE 2
                                                  Molar
                                Concentration    Ratio of     Initial         Final 14-OHC content

                                (g H2Operg        SO2 to      14-OHC         Oxycodone Oxycodone
        Temperature Time         Oxycodone      Oxycodone content              base          HCI
  Trial    (° C.)    (hr.) pH       HCI)           HCI    (% by wt.)         (% by wt.)   (% by wt.)
   1         30       3     6       10.2          18:1         O.13           O.OOO7      Not tested
   2         30       3     6       10.2          18:1         O.13           O.OOO7       O.OOO7



                           Example 2B
   This Example was performed according to the process 30
 described in Example 2A. However, in this Example 9.4 g of
 wet oxycodone HCl (0.02 moles; 0.13% by weight 14-hy
 droxycodeinone (14-OHC) impurity) was mixed with about
 34.6 g of H2O and about 27.4 g of 6 wt.% SO/HO solution.
 The mixture was heated to about 50° C. Next, the pH was 35
 adjusted to about 7 using ammonium hydroxide.
   The resulting mixture was allowed to react for either 1 hour
 or 5 hours. At the end of the desired reaction time, the solution
 was adjusted to a pH of 8.8-9.8 with about 2.0 g of concen
 trated ammonium hydroxide and stirred for about 30 minutes. 40
 The solids were filtered and washed with about 28.0 g of H2O
 and dried. The 14-hydroxycodeinone (14-OHC) content in
 the resulting oxycodone base was measured, as was the
 14-hydroxycodeinone (14-OHC) content in the oxycodone
 HCl salt formed according to the method described in the 45
 preceding example. The results and reaction conditions in the
 various trials are illustrated in Table 3.
                                           TABLE 3
                                                  Molar
                                Concentration    Ratio of     Initial         Final 14-OHC content

                                (g H2Operg        SO2 to      14-OHC         Oxycodone Oxycodone
        Temperature Time         Oxycodone      Oxycodone content              base          HCI
  Trial    (° C.)    (hr.) pH       HCI)           HCI    (% by wt.)         (% by wt.)   (% by wt.)
   3         50       1     7        8.2          12:1         O.13            None          None
                                                                              detected     detected
   4         50       5     7        8.2          12:1         O.13           OOOOOS        O.OOOS



                           Example 2C                                   60

   This Example was performed according to the process
 described in Example 2A. However, in this Example 9.1 g of
 wet oxycodone HCl (0.02 moles; 0.13-0.14% by weight 65
 14-hydroxycodeinone (14-OHC) impurity) was mixed with
 about 7.0 g of HO and about 52.8g of 6 wt.% SO/HO
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                                33                                                                    34
 Solution. The mixture was heated to either 10° C. or 50° C.
 Next, the pH was adjusted to 7 using ammonium hydroxide.
   The resulting mixture was allowed to react for either 1 hour
 or 5 hours. At the end of the desired reaction time, the solution
 was adjusted to a pH of 8.8-9.8 with about 2.0-2.5 g of 5
 concentrated ammonium hydroxide and stirred for about 30
 minutes. The solids were filtered and washed with about 28.0
 g of HO and dried. The 14-hydroxycodeinone (14-OHC)
 content in the resulting oxycodone base was measured, as was           10
 the 14-hydroxycodeinone (14-OHC) content in the oxyc
 odone HCl salt formed by the method described in the pre
 ceding example. The results and reaction conditions in the
 various trials are illustrated in Table 4.
                                            TABLE 4

                                                  Molar
                                Concentration    Ratio of     Initial        Final 14-OHC content


                                (g H2Operg        SO2 to   14-OHC Oxycodone Oxycodone
        Temperature Time         Oxycodone      Oxycodone content      base        HCI
  Trial    (° C.)    (hr.) pH       HCI)           HCI    (% by wt.) (% by wt.) (% by wt.)

   5        50        1     7        8.2          2.4:1        O.13           None        O.OOO6
                                                                             detected
   6        50        5     7        8.2          2.4:1        O.13          O.OOO15      OOOO4
   7        10        5     7        8.2          2.4:1        O.14          O.OO1       Not tested




                           Example 2D
   This Example was performed according to the process
 described in Example 2A. However, in this Example 9.52g of
 wet oxycodone HCl (0.02 moles; 0.13% by weight 14-hy
 droxycodeinone (14-OHC) impurity) was mixed with about
 72.24 g of HO and about 27.76 g of 6 wt.% SO/HO
 solution. The mixture was heated to about 50° C. Next, the pH
 was adjusted to about 7 using ammonium hydroxide.
   The resulting mixture was allowed to react for either 1 hour
 or 5 hours. At the end of the desired reaction time, the solution
 was adjusted to a pH of 8.8-9.8 with about 2.0-2.5 g of
 concentrated ammonium hydroxide and stirred for about 30
 minutes. The solids were filtered and washed with about 28.0
 g of HO and dried. The 14-hydroxycodeinone (14-OHC)
 content in the resulting oxycodone base was measured, as was
 the 14-hydroxycodeinone (14-OHC) content in the oxyc
 odone HCl salt formed by the method described in the pre
 ceding example. The results and reaction conditions in the
 various trials are illustrated in Table 5.
                                            TABLE 5

                                                  Molar
                                Concentration    Ratio of     Initial        Final 14-OHC content

                                (g H2Operg        SO2 to   14-OHC Oxycodone Oxycodone
        Temperature Time         Oxycodone      Oxycodone content      base        HCI
  Trial    (° C.)    (hr.) pH       HCI)           HCI    (% by wt.) (% by wt.) (% by wt.)
   8        50        1     7        13.1         12:1         O.13           O.OOO2      O.OOO3
            50        5     7        13.1         12:1         O.13            None       OOOO4
                                                                             detected
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                              35                                                                                     36
                           Example 2E                                                   Sulfuric acid was added as the pressure was decreased to
   This Example was performed according to the process                                  about 0.11 atm and the solution temperature was increased to
 described in Example 2A. However, in this Example 9.5g of                              about 50-55° C.
 wet oxycodone HCl (0.02 moles; 0.13-0.14% by weight                                         The solution was then cooled to about 30° C. and the
 14-hydroxycodeinone (14-OHC) impurity) was mixed with
 about 39.7 g of HO and about 55.6 g of 6 wt.% SO/HO                                    solution pH adjusted to about 8.5-10 with concentrated
 Solution. The mixture was heated to either 10° C. or 50° C.
 Next, the pH was adjusted to about 7 using ammonium                                    ammonium hydroxide. The solution was stirred for about 30
 hydroxide.                                                                       10    minutes and filtered. The solids were filtered and washed with
   The resulting mixture was allowed to react for either 1 hour                         about 2000 g of HO and dried. The 14-hydroxycodeinone
 or 5 hours. At the end of the desired reaction time, the solution
 was adjusted to a pH of 8.8-9.8 with about 2.0-2.5 g of                                (14-OHC) content in the resulting oxycodone base was mea
 concentrated ammonium hydroxide and stirred for about 30                               sured, as was the 14-hydroxycodeinone (14-OHC) content in
                                                                                  15
 minutes. The solids were filtered and washed with about 30.6                           the oxycodone HCl salt formed by the method described in
 g of HO and dried. The 14-hydroxycodeinone (14-OHC)                                    the preceding example. The results and reaction conditions
 content in the resulting oxycodone base was measured, as was
 the 14-hydroxycodeinone (14-OHC) content in the oxyc                                   are illustrated in Table 7.
 odone HCl salt formed by the method described in the pre                         2O
 ceding example. The results and reaction conditions in the
 various trials are illustrated in Table 6.
                                           TABLE 6
                                                       Molar
                                Concentration         Ratio of        Initial              Final 14-OHC content

                                (g H2Operg            SO2 to          14-OHC           Oxycodone Oxycodone
        Temperature Time         Oxycodone       Oxycodone content                       base                HCI
  Trial    (° C.)    (hr.) pH       HCI)            HCI    (% by wt.)                  (% by wt.)         (% by wt.)
   10       50        1     7       12.3               2.4:1           O.13               None             OOOO4
                                                                                        detected
   11       50        5     7       12.3               2.4:1           O.13               None             OOOO4
                                                                                        detected
   12       10        5     7       12.3               2.4:1           O.13              O.OOO8           Not tested



                           Example 2F
   To a 22 L, 3 neck round bottom flask equipped with a
 mechanical stirrer, N inlet, and thermocouple for tempera
                                                                                                            TABLE 7
                                                                                                                    Molar
                                                                                              Concentration        Ratio of       Initial    Final 14-OHC content

                                                                                              (g H2Operg           SO to         14-OHC     Oxycodone    Oxycodone
                                                      Temperature Time                         Oxycodone         Oxycodone content            base          HCI
                                                Trial    (° C.)   (hr.) pH                        HCI)              HCI    (% by wt.)       (% by wt.)   (% by wt.)
                                                 13              40           5        7            6.6                18:1        O.13      O.OOO1       O.OOOS



 ture control was added 1840 g of wet oxycodone HCl (4.27                                                                     Example 2G
 moles, 0.13% by weight 14-hydroxycodeinone (14-OHC)                                         To a 50 ml, 3 neck round bottom flask equipped with a
 impurity). Next, with mixing 2706 g of H2O and 7717g of 6.4 55 mechanical stirrer, N inlet, and thermocouple for tempera
 wt.% SO/HO solution was added. The resulting mixture                                   ture control was added 3.33 g of oxycodone HCl (0.0095
 was heated to about 40°C. and the solution pH was adjusted                             moles; 0.2% by weight 14-hydroxycodeinone (14-OHC)
 to about 7 using concentrated ammonium hydroxide. The                                  impurity). Next, with mixing 33.3 g of H2O and 0.83 g of
 mixture was stirred for about 5 hours.                                                 sodium bisulfite was added. The resulting mixture was heated
                                                                                  60    to about 30° C. and the solution pH was adjusted to about 7
   After about 5 hours, the solution was adjusted to a pH of                            with ammoniumhydroxide. The mixture was stirred for about
                                                                                        15 hours. The pH of the mixture was then adjusted to about
 about 1.7 with the addition of 293.0 g concentrated sulfuric                           8.8-9.8 with concentrated ammonium hydroxide and stirred
 acid (96-98%). The pressure was slowly reduced to about                                for about 60 minutes. The precipitated oxycodone base was
 0.26 atm to facilitate the distillation/removal of unreacted
                                                                                  65    then filtered from the mother liquor, washed with about 10.0
                                                                                        g of HO, and dried. The 14-hydroxycodeinone (14-OHC)
 SO. As the distillation progressed, 23.4 g of concentrated                             content in the resulting oxycodone base was measured, as was
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                            37                                                                              38
 the 14-hydroxycodeinone (14-OHC) content in the oxyc
 odone HCl salt formed by the method described in the pre
 ceding example. The results and reaction conditions in the
 various trials are illustrated in Table 8.
                                           TABLE 8
                                                  Molar
                                Concentration    Ratio of     Initial        Final 14-OHC content

                                (g H2Operg        SO, to   14-OHC Oxycodone Oxycodone
        Temperature Time         Oxycodone      Oxycodone content      base        HCI
  Trial    (° C.)    (hr.) pH       HCI)           HCI    (% by wt.) (% by wt.) (% by wt.)
   14       30        15    7        10           O.84:1       O.2           O.OOO4       OOOO4


                                                                        15
                           EXAMPLE 3                                           4. A hydrochloride Salt of a morphinan-6-one compound
                                                                             corresponding to Formula (2):
   In this Example, an oxymorphone HCl sample was treated
 with a sulfur-containing compound according to the pro
 cesses described herein.                                                                                                            (2)
    To a 250 ml, 3 neck round bottom flask equipped with a
 mechanical stirrer, N inlet, and thermocouple for tempera
 ture control was added 150g HO and 15 goxymorphone HC1
 sample (0.044 moles; 0.3-0.5% by weight 14-hydroxymor
 phinone (14-OHM) impurity). Next, 7.5g of sodium bisulfite             25
 (NaHSO) was added. The pH was then adjusted to about 7
 with concentrated ammonium hydroxide, and the resulting
 mixture was stirred at 23°C. for about 16 hours.
   After about 16 hours, the pH was adjusted to about 8.8-9.8
 with ammonium hydroxide and the Solution was cooled to                 30
 about 20°C. The precipitated oxymorphone base was filtered,
 washed with water (about 45 g), and dried for 4 hours at 65°
 C.                                                                            comprising less than 0.001% measured by HPLC of an
    The oxymorphone base sample was analyzed using the                           C.B-unsaturated ketone compound corresponding to
 methods described above, and the sample contained no                   35       Formula (3):
 detectable amount of 14-hydroxymorphinone or 14-hydroxy
 codeinone. This experiment was repeated using a 6 wt.%
 SO/HO solution in place of sodium bisulfite and similar                                                                             (3)
 results were obtained.
                                                                        40
                           EXAMPLE 4

    In this Example, oxycodone base was treated with a thiol
 according to the processes described herein.
    To a 25 ml, 3 neck round bottom flask equipped with a               45
 mechanical stirrer, N inlet, and thermocouple for tempera
 ture control was added 3.0 g oxycodone base (0.01 motes:
 0.3-0.5% by weight 14-hydroxycodeinone (14-OHC) impu
 rity). Next, 18 g of chloroform was added, and the mixture
 was stirred at 70° C. until the oxycodone base was dissolved.          50
                                                                               wherein the morphinan-6-one compound is oxymorphone
 After the mixture was substantially homogenous, 1.5 g of
 benzenethiol was added to the mixture with stirring.                             and wherein X is —N(R7)—:
    After about 16 hours, a sample was analyzed using the                      RandR are hydrogen;
 methods described in the preceding examples. HPLC area                        R is hydroxy:
 percent analysis indicated a 14-hydroxycodeinone level of              55     Ro is hydrogen;
 less than about 0.0022%.                                                      Ra is hydroxy; and
    What is claimed is:                                                        R, is methyl.
   1. A hydrochloride Salt of oxymorphone comprising less                      5. The hydrochloride salt of claim 4 comprising less than
 than 0.001% of 14-hydroxymorphinone.                                        0.0005% of 14-hydroxymorphinone.
   2. The hydrochloride salt of claim 1 comprising less than            60
                                                                               6. A pharmaceutical formulation comprising the oxymor
 0.0005% of 14-hydroxymorphinone.                                            phone hydrochloride according to claim 4.
   3. A pharmaceutical acceptable form comprising the oxy
 morphone hydrochloride according to claim 1.                                                       k   k   k    k   k
